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      In The United States Court of Federal Claims
                                         No. 04-1366C

                                    (Filed: March 12, 2010)
                                          __________
 SPECTRUM SCIENCES & SOFTWARE, INC.,

                            Plaintiff,

        v.

 THE UNITED STATES,

                            Defendant.
                                          _________

                                          ORDER
                                         __________

        Trial in this case was held in Washington, D.C. on January 14 and 15, 2010. At
the close of trial the record remained open pending receipt of the transcript of trial
proceedings. On February 18, 2010, the court received a copy of the trial transcript.
Proof in this case is now closed.

       IT IS SO ORDERED.


                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
